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     PETER SANTO CAPODIECI
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                         FRESNO DIVISION
11                                                 –ooo–
12
13   UNITED STATES OF AMERICA,                       CR. 14-00228-LJO

14                   Plaintiff,                      STIPULATION AND ORDER TO
                                                     CHANGE SENTENCE
15   vs.                                             HEARING; Clerk to notify Probation

16                                                   Current Date: November 16, 2015
     PETER SANTO CAPODIECI,                          Proposed Date: May 31, 2016
17                                                   Time:          8:30 a.m.
                     Defendant.                      Judge:         Hon. Lawrence J. O’Neill
18                                             /

19
20          IT IS HEREBY STIPULATED by and between the parties through their respective

21   counsel, Grant B. Rabenn, Assistant United States Attorney, and Randy Sue Pollock, counsel for

22   defendant Peter Santo Capodieci, that the sentencing hearing, currently on calendar for

23   November 26, 2015, be continued to May 31, 2016 at 8:30 a.m.

24          The parties seek a continuance for the sentencing date because AUSA Grant Rabenn will

25   be involved in a trial on the date scheduled for sentencing. Defense counsel Randy Sue Pollock

26   is scheduled to begin a multi-defendant RICO trial in the Northern District of California before

27   the Honorable Charles R. Breyer, United States v. Raymond Chow, Case No. CR14-0196 CRB.

28   ///



     STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING HEARING                                    1
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 1   The Chow trial begins November 2, 2015 and will not conclude for several months.
 2
     Date: September 13, 2015                    /s/RANDY SUE POLLOCK
 3
                                                 RANDY SUE POLLOCK
 4
 5   Date: September 13, 2015                    /s/ GRANT B. RABENN
                                                 GRANT B. RABENN
 6
 7
 8                                               ORDER

 9           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that sentencing proceedings

10   of defendant Peter Santo Capodieci, currently set for November 16, 2015, be vacated and

11   changed to October 26, 2015 at 8:30 a.m. In other words, the sentencing will take place earlier,

12   not later.

13
14   IT IS SO ORDERED.
15
         Dated:   September 14, 2015                       /s/ Lawrence J. O’Neill
16                                                    UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING HEARING                                2
